         Case 2:24-ap-01024-WB                      Doc 2 Filed 01/30/24 Entered 01/30/24 08:24:31                                         Desc
                                                     AP-Summons Page 1 of 3


Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
Email Address

Sanjiv N Singh
Sanjiv N. Singh, APLC
1700 S. El Camino Real, Ste. 503
San Mateo, CA 94402
415−816−5548




Plaintiff or Attorney for Plaintiff

                                       UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA − LOS ANGELES
In re:

                                                                              CASE NO.:    2:23−bk−16688−WB

Marvin V Acuna                                                                CHAPTER:     13


                                                                              ADVERSARY NUMBER: 2:24−ap−01024−WB
                                                               Debtor(s).

Plant Craft Foods Inc.


                                                               Plaintiff(s)
                               Versus
                                                                                  SUMMONS AND NOTICE OF STATUS
                                                                                    CONFERENCE IN ADVERSARY
Marvin V Acuna                                                                       PROCEEDING [LBR 7004−1]

                                                           Defendant(s)



TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
response on the party shown in the upper left−hand corner of this page. The deadline to file and serve a written response is
02/29/2024. If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief
demanded in the Complaint.

 A status conference in the adversary proceeding commenced by the Complaint has been set for:
             Date:                April 2, 2024
             Time:                02:00 PM
             Hearing Judge:       Julia W. Brand
             Location:            255 E Temple St., Crtrm 1375, Los Angeles, CA 90012



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                  Page 1                        F 7004−1.SUMMONS.ADV.PROC
       Case 2:24-ap-01024-WB                      Doc 2 Filed 01/30/24 Entered 01/30/24 08:24:31                                          Desc
                                                   AP-Summons Page 2 of 3


You must comply with LBR 7016−1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the
other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before
a status conference. A court−approved joint status report form is available on the court's website (LBR form F
7016−1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016−1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference. The court may fine you or impose other sanctions if you do not file a status report. The court may
also fine you or impose other sanctions if you fail to appear at a status conference.




                                                                                        KATHLEEN J. CAMPBELL
                                                                                        CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding: January 30, 2024




                                                                                        By:        "s/" William C. Kaaumoana Jr.
                                                                                                   Deputy Clerk




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                Page 2                        F 7004−1.SUMMONS.ADV.PROC
          Case 2:24-ap-01024-WB                        Doc 2 Filed 01/30/24 Entered 01/30/24 08:24:31                                          Desc
                                                        AP-Summons Page 3 of 3



                                              PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:




A true and correct copy of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE IN ADVERSARY
PROCEEDING [LBR 7004−1] and (2) the accompanying pleading(s) entitled:
__________________________________________________________________________________________________________
__________________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005−2(d); and (b) in the manner
stated below:

   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
   Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
   (date) _____________________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
   determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
   addresses stated below:




                                                                               Service information continued on attached page
   2. SERVED BY UNITED STATES MAIL: On (date) _____________________, I served the following persons and/or
   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct
   copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
   Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after
   the document is filed.




                                                                               Service information continued on attached page
   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
   method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
   _____________________, I served the following persons and/or entities by personal delivery, overnight mail service,
   or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
   Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
   completed no later than 24 hours after the document is filed.




                                                                               Service information continued on attached page
   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

   _____________________________________________________________                                    _________________________________
   Date                   Printed Name                                                                 Signature

                This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                                                  F 7004−1.SUMMONS.ADV.PROC
